
LVOV Acupuncture, P.C. and United Wellness Chiropractic, P.C., as Assignees of Nelson Shaquan, Appellants,
againstHereford Insurance Company, Respondent.




Law Office of Melissa Betancourt, P.C. (Melissa Betancourt of counsel), for appellants.
Law Office of Lawrence R. Miles (Thomas Wolf of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Ingrid Joseph, J.), entered November 6, 2015. The order granted defendant's motion for summary judgment dismissing the complaint and denied plaintiffs' cross motion for summary judgment.




ORDERED that the order is affirmed, with $25 costs.
In this action by providers to recover assigned first-party no-fault benefits, plaintiffs appeal from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that the insured vehicle had not been involved in the alleged accident on February 13, 2013, and denied plaintiffs' cross motion for summary judgment.
For the reasons stated in Jamaica Wellness Med., P.C., as Assignee of Nelson Shaquan v Hereford Ins. Co. (__ Misc 3d ___, 2018 NY Slip Op _____ [appeal No. 2015-2655 K C], decided herewith), the order is affirmed.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur. 
ENTER:
Paul Kenny
Chief Clerk
Decision Date: November 09, 2018










